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CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:

Atlas Data Privacy Corp. et al. v. First Direct, Inc., Appellant, et al.

APPEAL FROM DISTRICT COURT:
District; District of New Jersey

D.C. Docket No.: 1:25-cv-01480-HB

Date proceedings initiated in D.C.: February 25, 2025

Date Notice of Appeal filed: April 7, 2025

USCA No.: 25-1676

COUNSEL ON APPEAL
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Name of Party(ies): Atlas Data Priv. Corp., Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, and Willian Sullivan

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Name of Party(ies): Atlas Data Priv. Corp., Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, and William Sullivan

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Is this a Cross-Appeal? Yes [_ | No
Appeals Docket No.:
Was there a previous appeal in case? Yes No [_]

If yes, Short Title: Atlas Data Privacy Corp. et al. v. First Direct, Inc., Petitioner, et al.
Appeals Docket No.: 25-8013

Citation, if reported: N/A

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court or administrative agency which:

a) Arises from substantially the same case or controversy as this appeal? Yes No[_]
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
Yes No [ ]
If you answered yes to either “a” or “b” please provide:
Case Name: Atlas Data Privacy Corp. et al. v. We Inform, Inc. et al.
D.C. Docket No.: 1:24-cv-04037-HB
Court or Agency: United States Court of Appeals for the Third Circuit
Docket Number: 25-1555
Citation, if reported: N/A
NATURE OF SUIT
(Check as many as apply)
1. FEDERAL STATUTES [ JASSAULT/DEFAMATION
| JANTITRUST | |PRODUCT LIABILITY/WARRANTY
| JBANKRUPTCY [v|DIVERSITY
| JBANKS & BANKING | JOTHER Specify:
[ ]CIVIL RIGHTS
| JCOMMERCE, ROUTES, AND TARIFFS 3. CONTRACTS
| |COMMODITIES | JADMIRALTY/MARITIME
| |COMMUNICATIONS | JARBITRATION
| ]CONSUMER PROTECTION | |COMMERCIAL
| |COPYRIGHT | JEMPLOYMENT
[ JPATENT [ JINSURANCE
| JTRADEMARK | JNEGOTIABLE DISBURSEMENTS
| JELECTION | JOTHER Specify:
| JENERGY
[ JENVIRONMENTAL 4, PRISONER PETITIONS
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| JIMMIGRATION L JVACATE SENTENCE 2255
| |LABOR | JHABEAS CORPUS 2254
[ JOSHA [ JHABEAS CORPUS 2241
[_]SECURITIES L JMANDAMUS/PROHIBITION
| |SOCIAL SECURITY [_JOTHER Specify:
| |TAX
| JEQUAL ACCESS TO JUSTICE 5. OTHER
[_]OTHER Specify: [| JFORFEITURE
[ |CIVIL GRAND JURY
2. TORTS [_|TREATY Specify:
[ JADMIRALTY [_JOTHER Specify:

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this

22nd_ day of April , 2025

Signature of Counsel: s/ Andrew W. Sheppard

